        Case 3:01-cr-00009-LC        Document 182           Filed 05/30/07     Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                   CASE NO. 3:01cr9LAC

VALENTINE RIVERA

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on May 29, 2007
Motion/Pleadings: MOTION TO DISMISS INDICTMENT
Filed by DEFENDANT                       on 5/22/2007                   Doc.# 179

RESPONSES:
BY GOVERNMENT                                  on 5/29/07               Doc.# 180
                                               on                       Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the    foregoing,      it    is    ORDERED    this   30 th   day   of
May, 2007, that:
(a) The relief requested is DENIED.
(b)




                                                                 s /L.A. Collier
                                                             LACEY A. COLLIER
                                                   Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
